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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                               8:13CR244
                 Plaintiff,
                                                         ORDER
      vs.
LUIS MEZA-GALVEZ,
                 Defendant.


     IT IS ORDERED that:

     1.     The Defendant's unopposed Motion             for   Continuance     of
            Sentencing (filing 331) is granted.

     2.     Defendant Luis Meza-Galvez's sentencing is continued to Friday,
            September 5, 2014, at 3:00 p.m., before the undersigned United
            States District Judge, in Courtroom No. 1, Roman L. Hruska
            Federal Courthouse, 111 South 18th Plaza, Omaha, Nebraska.
            The defendant shall be present at the hearing.

     Dated this 9th day of July, 2014.

                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge
